      Case 7:22-cv-00123 Document 12 Filed on 11/29/22 in TXSD Page 1 of 5
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                        November 29, 2022
                            UNITED STATES DISTRICT COURT
                                                                                        Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


MIKHAEL KOHEN,                     §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                    CIVIL ACTION NO. 7:22-CV-00123
                                   §
VILLAGE CAPITAL & INVESTMENT, LLC, §
                                   §
      Defendant.                   §

 ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Now before the Court is Defendant Village Capital & Investment, LLC’s Motion for

Summary Judgment. (Dkt. No. 8). After considering the Motion and the relevant law, the Court is

of the opinion that it should be GRANTED.

I.      Factual and Procedural Background

        Plaintiff Mikhael Kohen is a resident of Texas who filed an Original Petition in the 381st

District Court of Starr County, Texas on April 4, 2022. (Dkt. No. 1, Exh. 2). In his Petition,

Plaintiff sought a temporary restraining order and injunction against Defendant in order to prevent

the foreclosure of Plaintiff’s home. Id. at 1. Plaintiff alleged that he had been paying his mortgage

payments to Defendant as agreed and that Defendant refused to acknowledge those payments and

failed to properly assist Plaintiff in resolving any dispute. Id. at 1–2.

        Defendant removed the case to this Court on April 14, 2022. (Dkt. No. 1). Defendant filed

the instant Motion for Summary Judgment on September 9, 2022. (Dkt. No. 8). Plaintiff did not

respond within the twenty-one days required by the Local Rules of this Court, so the Court notified

the Parties that it would provide an additional fourteen days to respond or it would consider the

Motion unopposed. Local Rules 7.3, 7.4; (Dkt. No. 9). Plaintiff then requested an additional


1/5
       Case 7:22-cv-00123 Document 12 Filed on 11/29/22 in TXSD Page 2 of 5




fourteen days to respond, which the Court granted. (Dkt. Nos. 10–11). Plaintiff has not responded

to the Motion.

II.      Discussion

      A. Standard of Review

         A district court must grant summary judgment when there is no genuine dispute as to any

material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

A fact is material if it might affect the outcome of the lawsuit under the governing law, and is

genuinely in dispute only if a reasonable jury could return a verdict for the nonmoving party.

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A party moving for summary judgment

has the initial responsibility of informing the court of the basis for its motion and identifying those

portions of the pleadings and materials in the record, if any, which it believes demonstrate the

absence of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986);

Fed. R. Civ. P. 56(a), (c). Once the moving party carries its burden, the burden shifts to the

nonmovant to go beyond the pleadings and provide specific facts showing the existence of a

genuine issue for trial. Celotex, 477 U.S. at 324; Fed. R. Civ. P. 56(c).

         In conducting its review of the summary judgment record, the court “may not make

credibility determinations or weigh the evidence” and must resolve doubts and reasonable

inferences regarding the facts in favor of the nonmoving party. Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 150 (2000); Anderson, 477 U.S. at 255; Dean v. City of Shreveport,

438 F.3d 448, 454 (5th Cir. 2006). However, the nonmovant cannot satisfy its burden with

“conclusory allegations, speculation, and unsubstantiated assertions which are either entirely

unsupported, or supported by a mere scintilla of evidence.” Chaney v. Dreyfus Serv. Corp., 595

F.3d 219, 229 (5th Cir. 2010); see also Brown v. City of Houston, 337 F.3d 539, 541 (5th Cir.




2/5
      Case 7:22-cv-00123 Document 12 Filed on 11/29/22 in TXSD Page 3 of 5




2003) (“Unsubstantiated assertions, improbable inferences, and unsupported speculation are not

sufficient to defeat a motion for summary judgment.”).

    B. Defendant’s Motion for Summary Judgment

        In its Motion, Defendant seeks summary judgment on all of Plaintiff’s claims, arguing that

Plaintiff has no evidence to support his assertion that he had not breached the terms of the mortgage

loan and that Defendant can show that he was in breach. (See Dkt. No. 8). Plaintiff has not

responded to Defendant’s Motion within the time allowed by the Local Rules of this Court, so the

Court considers the Motion as unopposed. See Local Rules 7.3, 7.4. The Court cannot grant a

motion for summary judgment as unopposed, but it will accept as undisputed the facts listed in

support of Defendant’s Motion. See Eversley v. MBank Dallas, 843 F.2d 172, 174 (5th Cir. 1988).

        Plaintiff’s only substantive filing in this case is his Original Petition and Application for a

Temporary Restraining Order filed in state court. (Dkt. No. 1, Exh. 2). In it, the only specific relief

requested was a temporary restraining order against Defendants enjoining them from initiating the

foreclosure. Id. at 4–5. Plaintiff did not assert any specific cause of action against Defendant. The

Court will therefore consider whether Defendants are entitled to summary judgment against

Plaintiff’s claim for injunctive relief.

        It is shown in Defendant’s summary judgment evidence that Plaintiff executed a proper

promissory note and a deed of trust to create a mortgage on the property at issue. (Dkt. No. 8 at 3).

Plaintiff then made several payments before ultimately stopping regular monthly payments on the

mortgage. Id. Defendant then accelerated the mortgage, and despite several attempts at loan

repayment or loss mitigation, Plaintiff has remained in breach of the loan and has yet to pay what

is owed to Defendant at this point. Id. at 4–6.

        Plaintiff alleged in his affidavit accompanying his Petition that he had made timely

payments each month prior to receiving the notice of acceleration. (Dkt. No. 1, Exh. 2 at 6). In his


3/5
      Case 7:22-cv-00123 Document 12 Filed on 11/29/22 in TXSD Page 4 of 5




Petition he claimed that he had “evidence to prove that he did not miss any of his monthly

payments.” (Dkt. No. 1 at 3). Plaintiff has not presented this evidence, while Defendant has

presented payment records showing the time of default. (Dkt. No. 8, Exhs. I, I-1). Plaintiff has also

not presented any evidence to suggest that Defendant did not properly accelerate the loan and

initiate the foreclosure process. This Court therefore has no issue before it that would justify

injunctive relief against Defendant.

       Viewing all summary judgment evidence in the light most favorable to Plaintiff, it is

apparent that there is no genuine dispute that a mortgage loan existed, Plaintiff defaulted on the

loan, and Defendant accelerated the loan and initiated foreclosure proceedings. Plaintiff has not

offered any other justification for enjoining Defendant. Defendant is entitled to summary

judgment.

   C. Attorney’s Fees

       Defendant’s Motion for Summary Judgment also includes a Motion for Attorney’s Fees

under Rule 54(d)(2). (Dkt. No. 8 at 11). Defendant supports its Motion by showing that Plaintiff

agreed to pay Defendant’s reasonable costs and expenses expended in defense of its interests in

the original note and deed of trust. (Dkt. No. 8 at 11–12, Exhs. A at 2, B at 5). Defendant’s counsel

submitted an affidavit noting that Defendant incurred fees and costs of $6,902.00 in this litigation.

(Dkt. No. 8, Exh. Affidavit II).

       As discussed above, Plaintiff has not responded to Defendant’s Motion, so the Court

considers Defendant’s request for fees unopposed. The Court finds that Plaintiff agreed to pay

Defendant’s reasonable costs and that the costs shown by Defendant are not unreasonable.

Defendant is therefore entitled to recover $6,902.00 in costs.




4/5
       Case 7:22-cv-00123 Document 12 Filed on 11/29/22 in TXSD Page 5 of 5




III.    Conclusion

        It is, therefore, ORDERED that:

        Defendant’s Motion for Summary Judgment is GRANTED and all of Plaintiff’s claims

are DISMISSED; and

        Defendant shall recover from Plaintiff $6,902.00 in costs.

         SO ORDERED November 29, 2022, at McAllen, Texas.


                                                       ______________________________
                                                       Randy Crane
                                                       United States District Judge




5/5
